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                                  8
                                  9                         UNITED STATES DISTRICT COURT
                                 10                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 11
                                       RICHARD PAUL MERRELL,                     CASE NO.:
                                 12    individually and on behalf all others
                                       similarly situated,
                                 13
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                                                                                      CLASS ACTION COMPLAINT
                                                           Plaintiff,              1. VIOLATIONS OF THE
                                 14
                                             v.                                       AMERICANS WITH
                                 15                                                   DISABILITIES ACT OF 1990, 42
                                 16    SAGEWATER SPA AND RESORT,                      U.S.C. § 12181
                                       LLC, a California limited liability         2. VIOLATIONS OF THE UNRUH
                                 17    company; and DOES 1 to 10,                     CIVIL RIGHTS ACT
                                 18    inclusive,                                     DEMAND FOR JURY TRIAL
                                 19                        Defendants.
                                 20
                                 21
                                 22          Plaintiff Richard Paul Merrell (“Plaintiff”), individually and on behalf of all

                                 23    others similarly situated, brings this action based upon his personal knowledge as

                                 24    to himself and his own acts, and as to all other matters upon information and belief,

                                 25    based upon, inter alia, the investigations of his attorneys.

                                 26                               NATURE OF THE ACTION

                                 27          1.     Plaintiff is a visually impaired and legally blind person who requires

                                 28    screen reading software to read website content using his computer. Plaintiff uses
                                                                     1
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                                  1    the terms “blind” or “visually impaired” to refer to all people with visual
                                  2    impairments who meet the legal definition of blindness in that they have a visual
                                  3    acuity with correction of less than or equal to 20 x 200. Some blind people who
                                  4    meet this definition have limited vision. Others have no vision.
                                  5          2.     Plaintiff, individually and on behalf of those similarly situated persons
                                  6    (hereafter “Class Members”), brings this Class Action to secure redress against
                                  7    Defendant Sagewater Spa and Resort, LLC (hereinafter “Defendant”), and DOES
                                  8    1-10, for its failure to design, construct, maintain, and operate its website to be fully
                                  9    and equally accessible to and independently usable by Plaintiff and other blind or
                                 10    visually impaired people. Defendant’s denial of full and equal access to its website,
                                 11    and therefore denial of its products and services offered thereby and in conjunction
                                 12    with its physical location, is a violation of Plaintiff’s rights under the Americans
                                 13    with Disabilities Act (“ADA”) and California’s Unruh Civil Rights Act (“UCRA”).
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                                 14          3.     Because      Defendant’s     website,    https://sagewaterspa.com/      the
                                 15    (“Website” or “Defendant’s website”), is not fully or equally accessible to blind and
                                 16    visually impaired consumers in violation of the ADA, Plaintiff seeks a permanent
                                 17    injunction to cause a change in Defendant’s corporate policies, practices, and
                                 18    procedures so that Defendant’s website will become and remain accessible to blind
                                 19    and visually impaired consumers.
                                 20                                       THE PARTIES
                                 21          4.     Plaintiff, at all times relevant and as alleged herein, is a resident of
                                 22    California, County of Riverside. Plaintiff is a legally blind, visually impaired
                                 23    handicapped person, and a member of a protected class of individuals under the
                                 24    ADA, pursuant to 42 U.S.C. § 12102(1)-(2), and the regulations implementing the
                                 25    ADA set forth at 28 CFR §§ 36.101 et seq.
                                 26          5.     Defendant Sagewater Spa and Resort, LLC is a California limited
                                 27    liability company, with its headquarters in Riverside, California. Defendant’s
                                 28    servers for the website are in the United States. Defendant conducts a large amount
                                                                                  2
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                                  1    of its business in California. Defendant’s spa and resort constitutes a place of public
                                  2    accommodation.        Defendant’s spa provides to the public important services.
                                  3    Defendant’s website provides access to the ultimate way to renew both the body
                                  4    and mind by allowing consumers to virtually pursue and reserve an oasis in the
                                  5    desert with a 360-degree view of the Spa’s healing, mineral-rich waters, which
                                  6    come from the nearby ground. Consumers can additionally access information
                                  7    regarding the water, amenities, reservations, spa services, press coverage, activities
                                  8    to do nearby, contact information, spa location, and how to book a reservation.
                                  9          6.     Plaintiff is unaware of the true names, identities, and capacities of the
                                 10    Defendants sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this
                                 11    complaint to allege the true names and capacities of DOES 1 to 10 if and when
                                 12    ascertained. Plaintiff is informed and believes, and thereupon alleges, that each of
                                 13    the Defendants sued herein as a DOE is legally responsible in some manner for the
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                                 14    events and happenings alleged herein and that each Defendant sued herein as a DOE
                                 15    proximately caused injuries and damages to Plaintiff as set forth below.
                                 16          7.     Defendant’s spa is a public accommodation within the definition of
                                 17    Title III of the ADA, 42 U.S.C. § 12181(7).
                                 18          8.     The website https://sagewaterspa.com/, is a service, privilege, or
                                 19    advantage of Defendant’s services and location.
                                 20                              JURISDICTION AND VENUE
                                 21          9.     This Court has subject matter jurisdiction over the state law claims
                                 22    alleged in Complaint pursuant to the Class Action Fairness Act, 28 U.S.C. §
                                 23    1332(d)(2)(A) because: (a) the matter in controversy exceeds the sum of $5 million,
                                 24    exclusive of interest and costs; and (b) some of the class members are citizens of a
                                 25    state (California).
                                 26          10.    Defendant is subject to personal jurisdiction in this District. Defendant
                                 27    has been and is committing the acts or omissions alleged herein in the Central
                                 28    District of California that caused injury, and violated rights prescribed by the ADA
                                                                                  3
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                                  1    and UCRA, to Plaintiff and to other blind and other visually impaired consumers.
                                  2    A substantial part of the acts and omissions giving rise to Plaintiff’s claims occurred
                                  3    in the Central District of California. Specifically, on several separate occasions,
                                  4    Plaintiff has been denied the full use and enjoyment of the facilities and services of
                                  5    Defendant’s website in Riverside County.          The access barriers Plaintiff has
                                  6    encountered on Defendant’s website has caused a denial of Plaintiff’s full and equal
                                  7    access multiple times in the past, and now deter Plaintiff on a regular basis from
                                  8    accessing Defendant’s website.         Similarly, the access barriers Plaintiff has
                                  9    encountered on Defendant’s website has impeded Plaintiff’s full and equal
                                 10    enjoyment of amenities and services offered at Defendant’s brick-and mortar spa.
                                 11          11.    This Court also has subject matter jurisdiction over this action pursuant
                                 12    to 28 U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title
                                 13    III of the ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.
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                                 14          12.    This Court has personal jurisdiction over Defendant because it
                                 15    conducts and continues to conduct a substantial and significant amount of business
                                 16    in the State of California, Riverside County, and because Defendant’s offending
                                 17    website is available across California.
                                 18          13.    Venue is proper in the Central District of California pursuant to 28
                                 19    U.S.C. § 1391 because Plaintiff resides in this District, Defendant conducts and
                                 20    continues to conduct a substantial and significant amount of business in this District,
                                 21    Defendant is subject to personal jurisdiction in this District, and a substantial
                                 22    portion of the conduct complained of herein occurred in this District.
                                 23      THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET
                                 24          14.    The Internet has become a significant source of information, a portal,
                                 25    and a tool for conducting business, doing everyday activities such as shopping,
                                 26    learning, banking, researching, as well as many other activities for sighted, blind
                                 27    and visually impaired persons alike.
                                 28
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                                  1          15.    In today's tech-savvy world, blind and visually impaired people have
                                  2    the ability to access websites using keyboards in conjunction with screen access
                                  3    software that vocalizes the visual information found on a computer screen. This
                                  4    technology is known as screen reading software. Screen reading software is
                                  5    currently the only method a blind or visually impaired person may use to
                                  6    independently access the internet. Unless websites are designed to be read by
                                  7    screen reading software, blind and visually impaired persons are unable to fully
                                  8    access websites, and the information, products, and services contained thereon.
                                  9          16.    Blind and visually impaired users of Windows operating system-
                                 10    enabled computers and devices have several screen reading software programs
                                 11    available to them. Some of these programs are available for purchase and other
                                 12    programs are available without the user having to purchase the program separately.
                                 13    Job Access With Speech, otherwise known as “JAWS,” is currently the most
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                                 14    popular, separately purchased and downloaded screen reading software program
                                 15    available for a Windows computer.
                                 16          17.    For screen reading software to function, the information on a website
                                 17    must be capable of being rendered into text. If the website content is not capable
                                 18    of being rendered into text, the blind or visually impaired user is unable to access
                                 19    the same content available to sighted users.
                                 20          18.    The international website standards organization, the World Wide
                                 21    Web Consortium, known throughout the world as W3C, has published Success
                                 22    Criteria for version 2.1 of the Web Content Accessibility Guidelines ("WCAG 2.1"
                                 23    hereinafter). WCAG 2.1 are well-established guidelines for making websites
                                 24    accessible to blind and visually impaired people. These guidelines are adopted,
                                 25    implemented, and followed by most large business entities who want to ensure their
                                 26    websites are accessible to users of screen reading software programs. Though
                                 27    WCAG 2.1 has not been formally adopted as the standard for making websites
                                 28
                                                                    5
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                                  1    accessible, it is one of, if not the most, valuable resource for companies to operate,
                                  2    maintain, and provide a website that is accessible under the ADA to the public.
                                  3            19.   Within this context, the Ninth Circuit has recognized the viability of
                                  4    ADA claims against commercial website owners/operators with regard to the
                                  5    accessibility of such websites. Robles v. Domino’s Pizza, LLC, Docket No. 17-
                                  6    55504 (9th Cir. Apr 13, 2017), Court Docket No. BL-66. This is in addition to the
                                  7    numerous courts that already recognized such application.
                                  8            20.   Each of Defendant’s violations of the Americans with Disabilities Act
                                  9    is likewise a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights
                                 10    Act provides that any violation of the ADA constitutes a violation of the Unruh
                                 11    Civil Rights Act. Cal. Civ. Code, § 51(f).
                                 12            21.   Further, Defendant’s actions and inactions denied Plaintiff full and
                                 13    equal access to their accommodations, facilities, and services.        A substantial
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                                 14    motivating reason for Defendant to deny Plaintiff access was the perception of
                                 15    Plaintiff’s disability.   Defendant’s denial of Plaintiff’s accessibility was a
                                 16    substantial motivating reason for Defendant’s conduct. Plaintiff was harmed due
                                 17    to Defendant’s conduct. Defendant’s actions and inactions were a substantial factor
                                 18    in causing the lack of access to Plaintiff. Unruh Civil Rights Act. Cal. Civ. Code,
                                 19    § 51.
                                 20            22.   Inaccessible or otherwise non-compliant websites pose significant
                                 21    access barriers to blind and visually impaired persons.           Common barriers
                                 22    encountered by blind and visually impaired persons include, but are not limited to,
                                 23    the following:
                                 24                  a. A text equivalent for every non-text element is not provided;
                                 25                  b. Title frames with text are not provided for identification and
                                 26                     navigation;
                                 27                  c. Equivalent text is not provided when using scripts;
                                 28                d. Forms with the same information and functionality as for sighted
                                                                             6
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                                  1                   persons are not provided;
                                  2                e. Information about the meaning and structure of content is not
                                  3                   conveyed by more than the visual presentation of content;
                                  4                f. Text cannot be resized without assistive technology up to 200
                                  5                   percent without loss of content or functionality;
                                  6                g. If the content enforces a time limit, the user is not able to extend,
                                  7                   adjust or disable it;
                                  8                h. Web pages do not have titles that describe the topic or purpose;
                                  9                i. The purpose of each link cannot be determined from the link text
                                 10                   alone or from the link text and its programmatically determined link
                                 11                   context;
                                 12                j. One or more keyboard operable user interface lacks a mode of
                                 13                   operation where the keyboard focus indicator is discernible;
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                                 14                k. The default human language of each web page cannot be
                                 15                   programmatically determined;
                                 16                l. When a component receives focus, it may initiate a change in
                                 17                   context;
                                 18                m. Changing the setting of a user interface component may
                                 19                   automatically cause a change of context where the user has not been
                                 20                   advised before using the component;
                                 21                n. Labels or instructions are not provided when content requires user
                                 22                   input;
                                 23                o. In content which is implemented by using markup languages,
                                 24                   elements do not have complete start and end tags, elements are not
                                 25                   nested according to their specifications, elements may contain
                                 26                   duplicate attributes and/or any IDs are not unique;
                                 27                p. Inaccessible Portable Document Format (PDFs); and
                                 28             q. The name and role of all User Interface elements cannot be
                                                                       7
                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1                      programmatically determined; items that can be set by the user
                                  2                      cannot be programmatically set; and/or notification of changes to
                                  3                      these items are not available to user agents, including assistive
                                  4                      technology.
                                  5                                FACTUAL BACKGROUND
                                  6          23.      Defendant offers the https://sagewaterspa.com/ website to the public.
                                  7    The website offers features which should allow all consumers to access the
                                  8    amenities and services which Defendant offers in connection with its physical
                                  9    location. The amenities and services offered by Defendant include, but are not
                                 10    limited to the following: fully equipped kitchens in every room; custom designed
                                 11    beds, down duvets and pillows, FRETTE linens, towels, robes, and Aveda
                                 12    amenities; the purest drinking water in the country; and twenty-four hour access to
                                 13    immaculate mineral water pool. Defendant’s website also allows consumers to
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                                 14    check spa availability, inquire about rates, inform themselves about spa policies,
                                 15    and make reservations. In addition, Defendant’s website provides consumers with
                                 16    information about Defendant’s expert spa services and treatments, which range
                                 17    from Sagewater Spa In-Room Massage treatments, Body Wraps, In Water
                                 18    Treatments- Balneotherapy, Skin Care, and Intuitive Readings by a renowned
                                 19    clairvoyant.    Consumers can additionally receive up to date press related to
                                 20    Sagewater Spa, find activities to do in the adjacent areas, access Defendant’s
                                 21    contact information, and access directions to the Spa.
                                 22          24.      Based on information and belief, it is Defendant’s policy and practice
                                 23    to deny Plaintiff and Class Members, along with other blind or visually impaired
                                 24    users, access to Defendant’s website, and to therefore, specifically deny the
                                 25    amenities and services that are offered and integrated within Defendant’s spa. Due
                                 26    to Defendant’s failure and refusal to remove access barriers on its website, Plaintiff
                                 27    and other visually impaired persons have been and are still being denied equal and
                                 28    full access to Defendant’s spa and a variety of other products and services offered
                                                                                8
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                                  1    to the public through Defendant’s Website.
                                  2    DEFENDANT’S BARRIERS ON UNRUH CIVIL RIGHTS ACT. CAL. CIV.
                                  3       CODE, § 51(f) DENY PLAINTIFF AND CLASS MEMBERS ACCESS
                                  4          25.       Plaintiff is a visually impaired and legally blind person, who cannot
                                  5    use a computer without the assistance of screen reading software. However,
                                  6    Plaintiff is a proficient user of the JAWS or NV Access screen-reader(s) as well as
                                  7    Mac’s VoiceOver and uses it to access the internet.               Plaintiff has visited
                                  8    https://sagewaterspa.com/ on several separate occasions using the JAWS and/or
                                  9    VoiceOver screen-readers.
                                 10          26.       During Plaintiff’s numerous visits to Defendant’s website, Plaintiff
                                 11    encountered multiple access barriers which denied Plaintiff full and equal access to
                                 12    the facilities, amenities, and services offered to the public and made available to the
                                 13    public on Defendant’s website. Due to the widespread access barriers Plaintiff and
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                                 14    Class Members encountered on Defendant’s website, Plaintiff and Class Members
                                 15    have been deterred, on a regular basis, from accessing Defendant’s website.
                                 16    Similarly, the access barriers Plaintiff has encountered on Defendant’s website has
                                 17    deterred Plaintiff and Class Members from visiting Defendant’s brick-and-mortar
                                 18    spa location.
                                 19          27.       While attempting to navigate Defendant’s website, Plaintiff and Class
                                 20    Members encountered multiple accessibility barriers for blind or visually impaired
                                 21    people that include, but are not limited to, the following:
                                 22                    a. Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text
                                 23                       is invisible code embedded beneath a graphic or image on a website
                                 24                       that is read to a user by a screen-reader. For graphics or images to
                                 25                       be fully accessible for screen-reader users, it requires that alt-text
                                 26                       be coded with each graphic or image so that screen reading
                                 27                       software can speak the alt-text to describe the graphic or image
                                 28                 where a sighted user would just see the graphic or image. Alt-text
                                                                           9
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                                  1                     does not change the visual presentation, but instead a text box
                                  2                     shows when the cursor hovers over the graphic or image. The lack
                                  3                     of alt-text on graphics and images prevents screen-readers from
                                  4                     accurately vocalizing a description of the image or graphic. As a
                                  5                     result, Plaintiff and Class Members who are blind and visually
                                  6                     impaired customers are unable to access the ultimate way to renew
                                  7                     both the body and mind, Defendant’s oasis in the desert with a 360-
                                  8                     degree view of the mountains, and Sagewater Spa’s healing,
                                  9                     mineral-rich waters. Consumers are additionally unable to access
                                 10                     information regarding amenities, reservations, spa services, press
                                 11                     coverage, activities to do nearby, or contact information;
                                 12                  b. Empty Links that contain No Text causing the function or purpose
                                 13                     of the link to not be presented to the user. This can introduce
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                                 14                     confusion for keyboard and screen-reader users;
                                 15                  c. Redundant Links where adjacent links go to the same URL address
                                 16                     which results in additional navigation and repetition for keyboard
                                 17                     and screen-reader users; and
                                 18                  d. Linked Images missing alt-text, which causes problems if an image
                                 19                     within a link does not contain any descriptive text and that image
                                 20                     does not have alt-text. A screen reader then has no content to
                                 21                     present the user as to the function of the link, including information
                                 22                     or links for and contained in PDFs.
                                 23           28.    Recently in 2020, Plaintiff attempted to do business with Defendant
                                 24     on Defendant’s website and Plaintiff encountered barriers to access on Defendant’s
                                 25     website.
                                 26           29.    Despite past and recent attempts to do business with Defendant on its
                                 27     website, the numerous access barriers contained on the website and encountered by
                                 28     Plaintiff, has denied Plaintiff full and equal access to Defendant’s website. Plaintiff
                                                                                   10
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                                  1     and Class Members, as a result of the barriers on Defendant’s website, continue to
                                  2     be deterred on a regular basis from accessing Defendant’s website. Likewise, based
                                  3     on the numerous access barriers Plaintiff and Class Members have been deterred
                                  4     and impeded from the full and equal enjoyment of the amenities and services
                                  5     offered in Defendant’s spa location.
                                  6           DEFENDANT MUST REMOVE BARRIERS TO ITS WEBSITE
                                  7           30.    Due to the inaccessibility of the Defendant’s website, blind and
                                  8     visually impaired customers such as Plaintiff, who need a screen-reader, cannot
                                  9     fully and equally use, or enjoy the facilities and services Defendant offers to the
                                 10     public on its website. The access barriers Plaintiff encountered have caused a denial
                                 11     of Plaintiff’s full and equal access in the past, and now deter Plaintiff on a regular
                                 12     basis from accessing the website.
                                 13           31.    These access barriers on the Defendant’s website have deterred the
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                                 14     Plaintiff from visiting Defendant’s physical location, and enjoying them equal to
                                 15     sighted individuals because: Plaintiff was unable to find the location and hours of
                                 16     operation of Defendant’s spa on its website, preventing Plaintiff from visiting the
                                 17     location to view and purchase amenities and/or services. Plaintiff and Class
                                 18     Members intend to visit Defendant’s location in the near future if Plaintiff and Class
                                 19     Members could access Defendant’s website.
                                 20           32.    If the website were equally accessible to all, Plaintiff and Class
                                 21     Members could independently navigate the website and complete a desired
                                 22     transaction, as sighted individuals do.
                                 23           33.    Plaintiff, through Plaintiff’s attempts to use the website, has actual
                                 24     knowledge of the access barriers that makes these services inaccessible and
                                 25     independently unusable by blind and visually impaired people.
                                 26           34.    Because simple compliance with WCAG 2.1 would provide Plaintiff
                                 27     and Class Members who are visually impaired consumers with equal access to the
                                 28     website, Plaintiff and Class Members allege that Defendant engaged in acts of
                                                                             11
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                                  1     intentional discrimination, including, but not limited to, the following policies or
                                  2     practices: constructing and maintaining a website that is inaccessible to visually
                                  3     impaired individuals, including Plaintiff and Class Members; failing to construct
                                  4     and maintain a website that is sufficiently intuitive so as to be equally accessible to
                                  5     visually impaired individuals, including Plaintiff and Class Members; and failing to
                                  6     take actions to correct these access barriers in the face of substantial harm and
                                  7     discrimination to blind and visually impaired consumers, such as Plaintiff and Class
                                  8     Members, as a member of a protected class.
                                  9           35.    The Defendant uses standards, criteria, or methods of administration
                                 10     that have the effect of discriminating or perpetuating the discrimination against
                                 11     others, as alleged herein.
                                 12           36.    The ADA expressly contemplates the injunctive relief that Plaintiff
                                 13     seeks in this action. In relevant part, the ADA requires:
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                                 14                  In the case of violations of … this title, injunctive relief shall
                                                     include an order to alter facilities to make such facilities readily
                                 15
                                                     accessible to and usable by individuals with disabilities ….
                                 16                  Where appropriate, injunctive relief shall also include requiring
                                                     the … modification of a policy …. 42 U.S.C. § 12188(a)(2).
                                 17
                                 18           37.    Because Defendant’s website has never been equally accessible, and
                                 19     because Defendant lacks a corporate policy that is reasonably calculated to cause
                                 20     the Defendant’s website to become and remain accessible, Plaintiff invokes 42
                                 21     U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring Defendant to
                                 22     retain a qualified consultant acceptable to Plaintiff to assist Defendant to comply
                                 23     with WCAG 2.1 guidelines for Defendant’s website.              The website must be
                                 24     accessible for individuals with disabilities who use desktop computers, laptops,
                                 25     tablets, and smartphones. Plaintiff and Class Members seek that this permanent
                                 26     injunction require Defendant to cooperate with the agreed-upon consultant to: train
                                 27     Defendant’s employees and agents who develop the website on accessibility
                                 28     compliance under the WCAG 2.1 guidelines; regularly check the accessibility of
                                                                     12
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                                  1     the website under the WCAG 2.1 guidelines; regularly test user accessibility by
                                  2     blind or vision-impaired persons to ensure that the Defendant’s website complies
                                  3     under the WCAG 2.1 guidelines; and develop an accessibility policy that is clearly
                                  4     disclosed on the Defendant’s website, with contact information for users to report
                                  5     accessibility-related problems and require that any third-party vendors who
                                  6     participate on the Defendant’s website to be fully accessible to the disabled by
                                  7     conforming with WCAG 2.1.
                                  8           38.    If Defendant’s website were accessible, Plaintiff and Class Members
                                  9     could independently access information about the address and hours of the spa
                                 10     location, amenities offered, and services available for online booking.
                                 11           39.    Although Defendant may currently have centralized policies regarding
                                 12     maintaining and operating Defendant’s website, Defendant lacks a plan and policy
                                 13     reasonably calculated to make Defendant’s website fully and equally accessible to,
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                                 14     and independently usable by, blind and other visually impaired consumers.
                                 15           40.    Defendant has, upon information and belief, invested substantial sums
                                 16     in developing and maintaining Defendant’s website, and Defendant has generated
                                 17     significant revenue from Defendant’s website. These amounts are far greater than
                                 18     the associated cost of making Defendant’s website equally accessible to visually
                                 19     impaired customers. Plaintiff has also visited prior iterations of the Defendant’s
                                 20     website, https://sagewaterspa.com/, and also encountered such barriers.
                                 21           41.    Without injunctive relief, Plaintiff and Class Members will continue to
                                 22     be unable to independently use Defendant’s website, violating their rights.
                                 23                            CLASS ACTION ALLEGATIONS
                                 24           42.    Plaintiff, on behalf of himself and all others similarly situated, seeks
                                 25     to certify a Nationwide Class under Fed. R. Civ. P. 23(a) and 23(b)(2), the
                                 26     Nationwide Class is initially defined as follows:
                                 27                  all legally blind individuals who have attempted to access
                                                     Defendant’s website by the use of a screen reading software
                                 28
                                                                    13
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                                  1                  during the applicable limitations period up to and including final
                                                     judgment in this action.
                                  2
                                              43.    The California Class is initially defined as follows:
                                  3
                                                     all legally blind individuals in the State of California who have
                                  4                  attempted to access Defendant’s website by the use of a screen
                                                     reading software during the applicable limitations period up to
                                  5
                                                     and including final judgment in this action.
                                  6
                                              44.    Excluded from each of the above Classes is Defendant, including any
                                  7
                                        entity in which Defendant has a controlling interest, is a parent or subsidiary, or
                                  8
                                        which is controlled by Defendant, as well as the officers, directors, affiliates, legal
                                  9
                                        representatives, heirs, predecessors, successors, and assigns of Defendant. Also
                                 10
                                        excluded are the judge and court personnel in this case and any members of their
                                 11
                                        immediate families. Plaintiff reserves the right to amend the Class definitions if
                                 12
                                        discovery and further investigation reveal that the Classes should be expanded or
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                                        otherwise modified.
                                 14
                                              45.    Numerosity: Fed. R. Civ. P. 23(a)(1). This action has been brought
                                 15
                                        and may properly be maintained as a class action against Defendant under Rules
                                 16
                                        23(b)(1)(B) and 23(b)(3) of the Federal Rules of Civil Procedure. While the exact
                                 17
                                        number and identities of other Class Members are unknown to Plaintiff at this time,
                                 18
                                        Plaintiff is informed and believes that there are hundreds of thousands of Members
                                 19
                                        in the Class. Based on the number of customers who have visited Defendant’s
                                 20
                                        California spa, it is estimated that the Class is composed of more than 10,000
                                 21
                                        persons. Furthermore, even if subclasses need to be created for these consumers,
                                 22
                                        it is estimated that each subclass would have thousands of Members. The Members
                                 23
                                        of the Class are so numerous that joinder of all Members is impracticable and the
                                 24
                                        disposition of their claims in a class action rather than in individual actions will
                                 25
                                        benefit the parties and the courts.
                                 26
                                              46.    Typicality: Plaintiff’s and Class Members’ claims are typical of the
                                 27
                                        claims of the Members of the Class as all Members of the Class are similarly
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                                  1     affected by Defendant’s wrongful conduct, as detailed herein.
                                  2           47.    Adequacy: Plaintiff will fairly and adequately protect the interests of
                                  3     the Members of the Class in that they have no interests antagonistic to those of the
                                  4     other Members of the Class. Plaintiff has retained experienced and competent
                                  5     counsel.
                                  6           48.    Superiority: A class action is superior to other available methods for
                                  7     the fair and efficient adjudication of this controversy. Since the damages sustained
                                  8     by individual Class Members may be relatively small, the expense and burden of
                                  9     individual litigation makes it impracticable for the Members of the Class to
                                 10     individually seek redress for the wrongful conduct alleged herein. Furthermore, the
                                 11     adjudication of this controversy through a class action will avoid the potentially
                                 12     inconsistent and conflicting adjudications of the claims asserted herein. There will
                                 13     be no difficulty in the management of this action as a class action. If Class treatment
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                                 14     of these claims were not available, Defendant would likely unfairly receive
                                 15     thousands of dollars or more in improper revenue.
                                 16           49.    Common Questions Predominate: Common questions of law and fact
                                 17     exist as to all Members of the Class and predominate over any questions solely
                                 18     affecting individual Members of the Class. Among the common questions of law
                                 19     and fact applicable to the Class are:
                                 20                      i. Whether Defendant’s website, https://sagewaterspa.com/, is
                                 21                         inaccessible to the visually impaired who use screen reading
                                 22                         software to access internet websites;
                                 23                     ii. Whether Plaintiff and Class Members have been unable to
                                 24                         access https://sagewaterspa.com/ through the use of screen
                                 25                         reading software;
                                 26                    iii. Whether the deficiencies in Defendant’s website violate the
                                 27                         Americans with Disabilities Act of 1990, 42 U.S.C. § 12181 et
                                 28                         seq.;
                                                                     15
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                                  1                    iv. Whether the deficiencies in Defendant’s website violate the
                                  2                         California Unruh Civil Rights Act, California Civil Code § 51
                                  3                         et seq.;
                                  4                     v. Whether, and to what extent, injunctive relief should be imposed
                                  5                         on Defendant to make https://sagewaterspa.com/ readily
                                  6                         accessible to and usable by visually impaired individuals;
                                  7                    vi. Whether Plaintiff and Class Members are entitled to recover
                                  8                         statutory damages with respect to Defendant’s wrongful
                                  9                         conduct; and
                                 10                    vii. Whether further legal and/or equitable relief should be granted
                                 11                         by the Court in this action.
                                 12           50.    The class is readily definable, and prosecution of this action as a Class
                                 13     action will reduce the possibility of repetitious litigation. Plaintiff knows of no
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                                 14     difficulty which will be encountered in the management of this litigation which
                                 15     would preclude their maintenance of this matter as a Class action.
                                 16           51.    The prerequisites to maintaining a class action for injunctive relief or
                                 17     equitable relief pursuant to Rule 23(b)(2) are met, as Defendant has acted or refused
                                 18     to act on grounds generally applicable to the Class, thereby making appropriate final
                                 19     injunctive or equitable relief with respect to the Class as a whole.
                                 20           52.    The prerequisites to maintaining a class action for injunctive relief or
                                 21     equitable relief pursuant to Rule 23(b)(3) are met, as questions of law or fact
                                 22     common to the Class predominate over any questions affecting only individual
                                 23     Members; and a class action is superior to other available methods for fairly and
                                 24     efficiently adjudicating the controversy.
                                 25           53.    The prosecution of separate actions by Members of the Class would
                                 26     create a risk of establishing inconsistent rulings and/or incompatible standards of
                                 27     conduct for Defendant. Additionally, individual actions may be dispositive of the
                                 28
                                                                     16
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                                  1     interests of all Members of the Class, although certain Class Members are not
                                  2     parties to such actions.
                                  3           54.    Defendant’s conduct is generally applicable to the Class as a whole
                                  4     and Plaintiff seeks, inter alia, equitable remedies with respect to the Class as a
                                  5     whole. As such, Defendant’s systematic policies and practices make declaratory
                                  6     relief with respect to the Class as a whole appropriate.
                                  7                                          COUNT I
                                  8        VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT, 42
                                  9                                  U.S.C. § 12181 ET SEQ.
                                 10           (On Behalf of Plaintiff, the Nationwide Class and the California Class)
                                 11           55.    Plaintiff alleges and incorporates herein by reference each and every
                                 12     allegation contained in paragraphs 1 through 54, inclusive, of this Complaint as if
                                 13     set forth fully herein.
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                                 14           56.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,
                                 15     provides: “No individual shall be discriminated against on the basis of disability in
                                 16     the full and equal enjoyment of the goods, services, facilities, privileges,
                                 17     advantages, or accommodations of any place of public accommodation by any
                                 18     person who owns, leases (or leases to), or operates a place of public
                                 19     accommodation.” 42 U.S.C. § 12182(a).
                                 20           57.    Under Section 302(b)(2) of Title III of the ADA, unlawful
                                 21     discrimination also includes, among other things: “a failure to make reasonable
                                 22     modifications in policies, practices, or procedures, when such modifications are
                                 23     necessary to afford such goods, services, facilities, privileges, advantages, or
                                 24     accommodations to individuals with disabilities, unless the entity can demonstrate
                                 25     that making such modifications would fundamentally alter the nature of such goods,
                                 26     services, facilities, privileges, advantages or accommodations”; and “a failure to
                                 27     take such steps as may be necessary to ensure that no individual with a disability is
                                 28     excluded, denied services, segregated or otherwise treated differently than other
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                                  1     individuals because of the absence of auxiliary aids and services, unless the entity
                                  2     can demonstrate that taking such steps would fundamentally alter the nature of the
                                  3     good, service, facility, privilege, advantage, or accommodation being offered or
                                  4     would result in an undue burden”. 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public
                                  5     accommodation shall take those steps that may be necessary to ensure that no
                                  6     individual with a disability is excluded, denied services, segregated or otherwise
                                  7     treated differently than other individuals because of the absence of auxiliary aids
                                  8     and services, unless the public accommodation can demonstrate that taking those
                                  9     steps would fundamentally alter the nature of the goods, services, facilities,
                                 10     privileges, advantages, or accommodations being offered or would result in an
                                 11     undue burden, i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In order
                                 12     to be effective, auxiliary aids and services must be provided in accessible formats,
                                 13     in a timely manner, and in such a way as to protect the privacy and independence
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                                 14     of the individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).
                                 15           58.    Defendant’s spa location is a “public accommodation” within the
                                 16     meaning of 42 U.S.C. § 12181 et seq. Defendant generates millions of dollars in
                                 17     revenue from the sale of its amenities and services, privileges, advantages, and
                                 18     accommodations in California through its location and related services, privileges,
                                 19     advantages, and accommodations and its Website, https://sagewaterspa.com/, is a
                                 20     service, privilege, advantage, and accommodation provided by Defendant that is
                                 21     inaccessible to customers who are visually impaired like Plaintiff.               This
                                 22     inaccessibility denies visually impaired customers full and equal enjoyment of and
                                 23     access to the facilities and services, privileges, advantages, and accommodations
                                 24     that Defendant made available to the non-disabled public. Defendant is violating
                                 25     the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq., in that Defendant
                                 26     denies visually impaired customers the services, privileges, advantages, and
                                 27     accommodations provided by https://sagewaterspa.com/.           These violations are
                                 28     ongoing.
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                                  1           59.    Defendant’s actions constitute intentional discrimination against
                                  2     Plaintiff and Class Members on the basis of a disability in violation of the
                                  3     Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. in that: Defendant has
                                  4     constructed a website that is inaccessible to Plaintiff and Class Members; maintains
                                  5     the website in this inaccessible form; and has failed to take adequate actions to
                                  6     correct these barriers even after being notified of the discrimination that such
                                  7     barriers cause.
                                  8           60.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights
                                  9     set forth and incorporated therein, Plaintiff requests relief as set forth below.
                                 10                                          COUNT II
                                 11       VIOLATIONS OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA
                                 12                                CIVIL CODE § 51 ET SEQ.
                                 13                       (On Behalf of Plaintiff and the California Class)
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                                 14           61.    Plaintiff alleges and incorporates herein by reference each and every
                                 15     allegation contained in paragraphs 1 through 60, inclusive, of this Complaint as if
                                 16     set forth fully herein.
                                 17           62.    Defendant’s location is a “business establishment” within the meaning
                                 18     of the California Civil Code § 51 et seq. Defendant generates millions of dollars in
                                 19     revenue from the sale of its services in California through its spa location and
                                 20     related services and https://sagewaterspa.com/ is a service provided by Defendant
                                 21     that is inaccessible to customers who are visually impaired like Plaintiff and Class
                                 22     Members. This inaccessibility denies visually impaired customers full and equal
                                 23     access to Defendant’s facilities and services that Defendant makes available to the
                                 24     non-disabled public. Defendant is violating the Unruh Civil Rights Act, California
                                 25     Civil Code § 51 et seq., in that Defendant is denying visually impaired customers
                                 26     the services provided by https://sagewaterspa.com/. These violations are ongoing.
                                 27           63.    Defendant’s actions constitute intentional discrimination against
                                 28     Plaintiff and Class Members on the basis of a disability in violation of the Unruh
                                                                              19
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                                  1     Civil Rights Act, Cal. Civil Code § 51 et seq. in that: Defendant has constructed a
                                  2     website that is inaccessible to Plaintiff and Class Members; maintains the website
                                  3     in this inaccessible form; and has failed to take adequate actions to correct these
                                  4     barriers even after being notified of the discrimination that such barriers cause.
                                  5           64.    Defendant is also violating the Unruh Civil Rights Act, California
                                  6     Civil Code § 51 et seq. in that the conduct alleged herein likewise constitutes a
                                  7     violation of various provisions of the ADA, 42 U.S.C. § 12101 et seq. Section 51(f)
                                  8     of the California Civil Code provides that a violation of the right of any individual
                                  9     under the ADA shall also constitute a violation of the Unruh Civil Rights Act.
                                 10           65.    The actions of Defendant were and are in violation of the Unruh Civil
                                 11     Rights Act, California Civil Code § 51 et seq., and, therefore, Plaintiff and Class
                                 12     Members are entitled to injunctive relief remedying the discrimination.
                                 13           66.    Plaintiff and Class Members are also entitled to statutory minimum
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                                 14     damages pursuant to California Civil Code § 52 for each and every offense.
                                 15           67.    Plaintiff and Class Members are also entitled to reasonable attorneys’
                                 16     fees and costs.
                                 17           68.    Plaintiff and Class Members are also entitled to a preliminary and
                                 18     permanent injunction enjoining Defendant from violating the Unruh Civil Rights
                                 19     Act, California Civil Code § 51 et seq., and requiring Defendant to take the steps
                                 20     necessary to make https://sagewaterspa.com/ readily accessible to and usable by
                                 21     visually impaired individuals.
                                 22                                  PRAYER FOR RELIEF
                                 23           WHEREFORE, Plaintiff, individually and on behalf of all Class Members,
                                 24     respectfully requests that the Court enter judgment in his favor and against
                                 25     Defendant as follows:
                                 26           A.     For an Order certifying the Nationwide Class and California Class as
                                 27                  defined herein and appointing Plaintiff and his Counsel to represent
                                 28               the Nationwide Class and the California Class;
                                                                            20
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                                  1           B.     A preliminary and permanent injunction pursuant to 42 U.S.C. §
                                  2                  12188(a)(1) and (2) and section 52.1 of the California Civil Code
                                  3                  enjoining Defendant from violating the Unruh Civil Rights Act and
                                  4                  ADA and requiring Defendant to take the steps necessary to make
                                  5                  https://sagewaterspa.com/ readily accessible to and usable by visually
                                  6                  impaired individuals;
                                  7           C.     An award of statutory minimum damages of $4,000 per offense per
                                  8                  person pursuant to section 52(a) of the California Civil Code;
                                  9           D.     For attorneys’ fees and expenses pursuant to California Civil Code
                                 10                  §§ 52(a), 52.1(h), and 42 U.S.C. § 12205;
                                 11           E.     For pre-judgment interest to the extent permitted by law;
                                 12           F.     For costs of suit; and
                                 13           G.     For such other and further relief as the Court deems just and proper.
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                                 14                               DEMAND FOR JURY TRIAL
                                 15           Plaintiff, on behalf of himself and all others similarly situated, hereby
                                 16     demands a jury trial for all claims so triable.
                                 17
                                 18
                                 19     Dated: December 03, 2020                          Respectfully Submitted,

                                 20
                                 21                                                       /s/ Thiago M. Coelho
                                                                                          Thiago M. Coelho, Esq.
                                 22                                                       WILSHIRE LAW FIRM
                                 23                                                       Attorney for Plaintiff and
                                                                                          Proposed Class
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